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                           UNITED STATE DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

___________________________________
VICKY PHILIPS-CHIZ, Personal        )                        Civil Action No.:
Representative of the Estate of     )
Stanley Chiz,                       )
                                    )
       Plaintiffs,                  )
                                    )
v.                                  )                        COMPLAINT AND
                                    )                        JURY TRIAL DEMAND
BENNET WALSH,                       )
DAVID CLINTON,                      )
VANESSA LAUZIERRE,                  )
CELESTE SURRERIA,                   )
                                    )
       and                          )
                                    )
FRANSCISCO URENA,                   )
                                    )
       Defendants.                  )
___________________________________ )



                                       INTRODUCTION
1.     The Soldiers’ Home in Holyoke, Massachusetts (“Soldiers’ Home”), is a multifaceted
     health care facility available to eligible Veterans of the Commonwealth of Massachusetts.
     The Commonwealth of Massachusetts advertises the Soldiers’ Home as their mission to
     provide “‘Care with Honor and Dignity’ in the best possible health care environment for
     eligible veterans who reside in the Commonwealth of Massachusetts.” However, that could
     not be further from the scene described by social workers and health care professionals
     working in the Soldiers’ Home during March of 2020. The five defendants named in this
     lawsuit were responsible for ensuring the Veterans residing at the Soldiers’ Home received
     appropriate care. Instead, they demonstrated a lack of consciousness as they treated the
     Veterans in a manner that deprived them of their basic rights, needs, and dignities. As a
     result of the defendants’ actions and lack thereof, 76 veterans were caused to die
     preventable deaths from COVID-19, including Stanley Chiz. An additional 84 veterans

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     were exposed and infected to the fatal COVID-19 virus, suffering personal harm and
     injuries. Each one of the five defendants acted with deliberate indifference to the risks and
     harm posed by the COVID-19 pandemic, causing the rapid spread of COVID-19
     throughout the Soldiers’ Home, endangering the lives of veterans and staff.


2.      This is a civil rights action for damages pursuant to the Fourteenth Amendment and 42
U.S.C. §1983 by Vicky Philips-Chiz, the Personal Representative of Estate of Stanley Chiz
(“Estate”). Stanley Chiz was a veteran who died in April 17, 2020, as a result of contracting
COVID-19 during the COVID-19 outbreak at the Soldiers’ Home. This claim seeks to redress
the deprivation of life of Stanley Chiz, a veteran citizen, under the color of law, that resulted as
a denial of reasonable medical care, treatment, and safety while in the care of the Soldiers’
Home.


3.      The five defendants named in this case acted individually and collectively as part of the
leadership team at the Soldiers’ Home with deliberate indifference to the risks posed by the
COVID-19 pandemic and in their manner of treatment of the Veterans residing at the Soldiers’
Home during such pandemic, by failing to prevent the spread of COVID-19 and administer
proper precautions, protocol, and care to the Veterans at the Soldiers’ Home.


4.      An independent investigation commissioned by the Governor of the Commonwealth of
Massachusetts specifically recounts the unprofessional, unethical, and deliberately indifferent
behavior of the five individuals, the same defendants within this case, named and responsible
for the care of the veterans at the Soldiers’ Home. The investigation report, “The COVID-19
Outbreak at the Soldiers’ Home in Holyoke: An Independent Investigation Conducted for the
Governor of Massachusetts” (“Report”), attached as Exhibit 1, examines not only the grievous
and erroneous actions of the leadership team at the Soldiers’ Home amidst the COVID-19
pandemic, but also extends further to identify the Department of Veterans’ Services failure to
address the substantial and long-standing concerns regarding the leadership of the Soldiers’
Home, specifically, Superintendent Bennett Walsh.




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                                            PARTIES
5.   The plaintiff, Vicky Philips-Chiz, is the personal representative of the Estate of Stanley
     Chiz. See Hampden County Probate Court Docket No.: HD20P1646EA.

6.   The defendant, Bennett Walsh, is the former Superintendent of the Soldiers’ Home in
     Holyoke, Massachusetts, and he currently resides in Massachusetts.

7.   The defendant, Dr. David Clinton, is the former Medical Director of the Soldiers’ Home in
     Holyoke, Massachusetts, and he currently resides in Massachusetts.

8.   The defendant, Vanessa Lauziere, is the former Chief Nursing Officer of the Soldiers’
     Home in Holyoke, Massachusetts, and she currently resides in Massachusetts.

9.   The defendant, Celeste Surreira, is the former Assistant Director of Nursing of the Soldiers’
     Home in Holyoke, Massachusetts, and she currently resides in Massachusetts.

10. The defendant, Francisco Urena, is the former Massachusetts Secretary of Veterans’
    Affairs, and he currently resides in Massachusetts.


                                 JURISDICTION AND VENUE
11. This Court has subject matter jurisdiction over this action under 28 U.S.C. § 1331 because
    the claims arise under the Law of the United States, specifically the Fourteenth
    Amendment to the United States Constitution and 42 U.S.C. §1983.

12. This Court has supplemental jurisdiction over any state law claims plaintiffs might bring
    pursuant to 28 U.S.C. §1367(a).

13. This Court has personal jurisdiction over the defendants because they each reside in
    Massachusetts, and during all times relevant, they worked in Massachusetts where the
    cause of action underlying the Complaint occurred.

14. Venue is proper in the Western Division of this Court because all parties reside in either
    Hampshire County or Hampden County, excluding Secretary Urena who resides in another
    county within Massachusetts.

                                      FACTUAL BACKGROUND

     A. Background Regarding the soldiers’ Home in Holyoke

 15. The Soldiers’ Home located in Holyoke, Massachusetts was established by statute in 1946
     and is governed by G.L. c. 6, §§ 17, 70, and 71.


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16. Chapter 70, § 71 creates a seven-member Board of Trustees, comprised of residents of
    Berkshire, Franklin, Hampden, and Hampshire counties located within Massachusetts. Its
    members are appointed by the Governor.

17. Chapter 70, § 71 grants authority to the Board of Trustees to manage and control the
    Soldiers’ Home in Holyoke, MA, and all property, real and personal, of the Commonwealth
    that is occupied or used by the home.

18. Chapter 70, § 71 grants authority to the Board of Trustees to appoint a superintendent. The
    Superintendent serves as “administrative head of the home” and “shall appoint and may
    remove a medical director, a treasurer, and an assistant treasurer”, subject to the approval
    of the Board of Trustees.

19. On April 29, 2016, the defendant, Bennett Walsh, was appointed Superintendent of the
    Soldiers’ Home.

20. Mr. Walsh served as the Superintendent of the Soldiers’ Home in Holyoke, MA until
    March 30, 2020.

21. Chapter 70, §71 provides that the “medical director shall have responsibility for the
    medical, surgical and outpatient facilities and shall make recommendations to the
    superintendent regarding the appointments of all physicians, nurses, and other medical
    staff.”

22. Dr. David Clinton served as Medical Director of the Soldiers’ home during the relevant
    events set forth in this Complaint.
B. Inadequate Leadership Appointment
Superintendent Walsh:
23. The leadership team of the Soldiers’ Home, specifically appointment of Superintendent
    Bennett Walsh, is well documented as to be insufficient and substantially deviated from
    professional standards.

24. Mr. Walsh’s lack of experience and expertise in the department of healthcare and health
    care administration was well known prior to the COVID-19 pandemic.

25. The Assistant Director of Nursing referenced Mr. Walsh’s lack of healthcare experience by
    providing examples of common terms that she had to explain to Mr. Walsh including
    productivity standards, FTEs (full-time equivalents), CMS (Center for Medicare and
    Medicaid Services), and the Joint Commission. Report at 38.




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26. John Crotty was appointed to role of Deputy Superintendent of the Soldiers’ Home in 2016.
    Mr. Crotty had experience as a licensed nursing-home administrator. Staff described Mr.
    Crotty as “fantastic,” “old school,” “transparent,” and that “he knew what he was doing.”
    Report at 43.

    Secretary Urena.
27. Secretary Urena and Chief of Staff Paul Moran shared similar concerns about Mr. Walsh’s
    ability to perform his position. During the COVID-19 outbreak at the Soldiers’ Home, Mr.
    Moran expressed concern to Secretary Urena that “Mr. Walsh’s communication skills are
    not good and he is never thorough or forthright in his communication.” Secretary Urena
    agreed with this assessment and explained that “everything [Mr. Walsh sent] over for years
    was cryptic.” Report at 38.

28. The Report additionally noted that the high rate of staff turnover under Mr. Walsh’s
    leadership was a red flag and “if one more employee had quit [under Walsh’s
    management], there would be a more serious conversation that had to happen with him.”
    Report at 38 and 39.

29. Secretary of Health and Human Resources Marylou Sudders instructed Secretary Urena to
    ensure the Soldiers’ Home had a Deputy Superintendent with Healthcare experience.
    Report at 43.

30. Mr. Walsh’s interests were not in the best interests of the Soldiers’ Home and providing
    care to the veteran residents. Secretary Urena emphasized that it was important for the
    Deputy Superintendent “to have a medical background and [be] licensed as an expert” but
    “Walsh was not interested in that.” Report at 44.

31. Secretary Urena demonstrated his clear knowledge of Mr. Walsh’s lack of qualifications
    for the position, and yet allowed for him to remain despite glaring concerns. Secretary
    Urena stated while searching for a new Deputy Superintendent in 2019 that he sought a
    candidate who was a licensed nursing home administrator because “Walsh did not come
    from a medical background.” This Report at 43.

32. The Report illustrates as demonstrated through the above-captioned lines 24-30, that
    Superintendent Walsh was not qualified for the position of Superintendent nor capable of
    performing its responsibilities, which resulted in the disarray of the Soldiers’ Home amidst
    a pandemic. However, he remained in that position and was not placed on administrative
    leave until March 30, 2020 when a response team organized by Secretary Sudders, Acting
    Secretary Tsai, and Undersecretary Mich arrived at the Soldiers’ Home to assist with the
    situation. This is due to Secretary Urena’s actions, and lack thereof, to exercise
    professional judgment in the maintenance of the Soldiers’ Home and its Veteran Residents.
    Report at 110.


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    Medical Director Dr. David Clinton:
33. Several members of the leadership team expressed concerns about Dr. Clinton’s
    performance in his role as Medical Director. Report at 42.

34. Chief Nursing Officer, Ms. Lauziere, stated that she would have expected the Medical
    Director to be at the facility full-time and to be “more available.” However, Dr. Clinton’s
    hours consisted of 20-hours per week with compensation of $116,000. Report at 42.

35. Ms. Lauziere also indicated that she “was not really impressed with Dr. Clinton’s
    practice—or lack of it—as a Medical Director” and that in her view, he did not spend
    enough time “getting into the detail of care.” Report at 42.

36. Val Liptak, an experienced healthcare executive appointed as the Interim Administrator of
    the Solders’ Home after Mr. Walsh’s suspension, observed that Mr. Clinton is “not a strong
    physician to lead the organization especially if they are going to get their medical records
    up to snuff.” Report at 42.

37. Upon arrival to the Soldiers’ Home, it was noted by Ms. Liptak that the facility did not
    have an accurate list of health care directives and healthcare proxies for each veteran.
    Additionally, it was noted that Dr. Clinton knew only the patients that were located on his
    floor and was not familiar with majority of the veterans in the facility. Report at 42 and 43.

38. Dr. Clinton was inquired by Lisa Colombo, the Executive Vice Chancellor of
    Commonwealth Medicine, and a member of Ms. Liptak’s responsive team, as to why he
    was not visiting the floors of the facility and evaluating the veterans. His response was that
    he was at “high risk” for COVID-19 and that he “did not want to go on the floors.” Report
    at 43.

39. On the contrary, Mr. Walsh’s impression of Dr. Clinton as Medical Director was positive
    and emphasized that “in four years I never overrode a decision made by Dr. Clinton,”
    which reveals that the leadership team was composed of individuals who either lacked
    ability or experience to properly evaluate its staff or chose to ignore evident issues in
    management.

40. On March 27, 2020, Dr. Clinton failed to use his authoritative power as Medical Director
    of the Soldiers’ Home to prohibit the integrating of the two dementia units, despite being
    aware of the detriment this move would pose to the Home.

41. The report demonstrates that the management and leadership team of the Soldiers’ Home
    was inadequate and consisted of appointed professionals that failed to perform their
    position responsibilities in a crisis that would require healthcare administration experience
    and medical professionals willing to deliver healthcare standards care to Veterans and
    residents, neither which were conducted at the Soldiers’ Home.

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    C. COVID-19 Regulations Proposed by State and Federal Agencies
42. In December of 2019, SARS-COV-2, also referred to as COVID-19, was first identified in
    China and has since spread worldwide, evolving into a pandemic that is ongoing.

43. The first COVID-19 case in the Commonwealth was confirmed on February 1, 2020, and
    was determined to have arrived earlier

44. In early February 2020, the Commonwealth of Massachusetts and the United States
    government began introducing instructions, guidance, literature, and recommendations
    directed at protecting citizens from COVID-19. Report at 57.

45. Among the proposed preventative measures, included directions targeted towards
    institutions involving healthcare facilities in order to isolate suspected cases of COVID-19
    and prevent contamination.

46. Early in February 2020, the Department of Health released a “fact sheet” for long-term care
    facilities which stated on how to prevent the spread of infectious agents. Report at 58.

47. On February 21, 2020, the CDC released a preparedness checklist aimed at healthcare
    professionals, detailing procedures that should be in place to prepare for the arrival of
    patients with confirmed or possible COVID-19. The procedures included reviewing a
    facility’s infection-control procedures for visitor management and restriction, the usage of
    personal protective equipment for healthcare workers and patients, and ensuring proper
    patient placement in light of an infectious disease breakout. Report at 58.

48. On March 2, 2020, Leslie Darcy, EOHHS Chief of Staff, sent an email to a variety of
    agency officials, including Mr. Walsh, regarding the Commonwealth’s preparations for a
    potential outbreak of COVID-19. Report at 60.

49. On March 6, 2020, Elvira Loncto, a federal VA employee, distributed COVID-19 guidance
    to Mr. Walsh and other personnel advising the limiting of staff movements between
    COVID-19 contaminated and unaffected areas, including the screening and limiting of
    visitors, assessing residents daily for symptoms, developing an isolation plan for suspected
    cases, and encouraging social distancing. Report at 60.

50. On March 10, 2020 Governor Baker declared a State of emergency in the Commonwealth.
    That same day, the VA issued a press conference outlining precautions to be taken at all
    VA facilities, including (i) prohibiting visitors; (ii) suspending new admissions; and (iii)
    actively screening staff for COVID-19. Report at 60.

51. On March 12, 2020, Paul Moran (Department of Veterans’ Services Chief of Staff)
    forwarded an email to Mr. Walsh containing COVID-19 guidance for assisted-living

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   facilities among other community care programs. The guidance directed facilities to isolate
   symptomatic individuals, specifically advising assisted-living facilities to move
   symptomatic residents to a single-person unit with the door closed. Report at 61.

52. On March 12, 2020, the CDC released guidance detailing “what healthcare personnel
    should know about caring for patients with confirmed or possible” cases of COVID-19.
    Among the guidance was recommendation to isolate suspected COVID-19 patients and
    instructions including “placing a facemask on the patient and placing them in an
    examination room with the door closed in an Airborne Infection Isolation Room (AIIR), if
    available.” Report at 61 and 62.

53. On March 16, 2020, the Department of Heath issued another policy memorandum focused
    on long-term care facilities. The memorandum consisted of guidance regarding visitation,
    social gatherings and activities, healthcare personnel protection equipment, and protocol
    for screening for symptoms of COVID-19. This memorandum replaced the previous long-
    term care facility guidance issued on March 11, 2020. Report at 62.

54. On March 17, 2020 through March 23, 2020, the Department of Public Heath continuously
    issued orders and guidance pertaining to persona protective equipment for clinical staff and
    health care professionals including how facilities could request personal protective
    equipment. Report at 62.

55. On April 5, 2020, the CDC published a detailed guidance on preparing nursing home
    facilities for COVID-19 in addition to a detailed interim infection control and preventative
    measures for confirmed cases. Report at 63.

56. As the COVID-19 pandemic continued to evolve and more information was discovered
    regarding the disease, the CDC and Department of Heath released updated guidance and
    precautionary measures to take in order to prevent the spread of the COVID-19.

   D. Soldiers’ Home Lack of Preparation Fails to Prevent COVID-19 Spread

57. In early March the Soldiers’ Home leadership team consisting of the defendants, Bennet
    Walsh (Superintendent), David Clinton (Medical Director), Vanessa Lauziere (Chief
    Nursing Officer), and Celeste Surreira (Assistant Director of Nursing), met to discuss
    measures and precautionary initiatives to prevent to the introduction and spread of COVID-
    19 at the facility. Report at 64.

58. On March 5, 2020, Infectious Disease Nurse, Vanessa Gosselin, notified supervisory staff,
    to remove masks from the floors and public areas of the Soldiers’ Home in order to
    conserve resources. Report at 64.




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59. During the week of March 7, 2020, the Soldiers’ Home department heads began to hold
    twice-daily meetings to discuss COVID-19. In addition, the Superintendents of the
    Soldiers’ Home including the Chelsea location, were requested to implement new visitation
    policies and executive teams refraining from attending public events.

60. On March 10, 2020 at the regularly scheduled meeting with the Board of Trustees of the
    Soldiers’ Home, the February 2020 flu outbreak at the Soldiers’ Home containment was
    presented by Mr. Walsh as it had overlapped with the introduction of COVID-19. Mr.
    Walsh’s presentation did not contain any information about COVID-19. However, upon
    inquiry by trustee Board Chairman Kevin Jourdain, precautionary measures for COVID-19
    were also discussed and were similar to those used for the Flu outbreak. Report at 66.

61. On March 19, 2020, Mr. Jourdain sent an email to Mr. Walsh, requesting a weekly update
    on the COVID-19 situation as just two (2) days previously, the first Veteran tested positive
    for COVID-19. Mr. Jourdain never received a response from Mr. Walsh. Report at 67.

62. The Report in its investigation of the Soldiers’ Home preparation and response to COVID-
    19 pandemic clearly indicates that the leadership team of the Home, specifically Mr.
    Walsh, blatantly ignored guidelines proposed by the Commonwealth and federal
    government that were constantly updated and available as the disease evolved.

    E. Failure to Isolate Patients Suspected of COVID-19
63. The Report identified the first veteran to be diagnosed with COVID-19 as “Veteran 1.”
    This veteran demonstrated clear symptoms that he contracted COVID-19 in February 2020.
    However, he was not tested for the disease until March 17, 2020 which revealed a positive
    test result on March 21, 2020. Despite Veteran 1 testing positive for COVID-19, he was
    permitted to remain living among the other veterans and staff. Report at 78-80.

64. Ms. Lauziere consulted with Dr. Clinton whether Veteran 1 should be relocated to the
    isolation unit that had been set up. Dr. Clinton responded that this was a “moot point”
    because “everyone has been exposed already.” Report at 79.

65. Veteran 1 shared a room with three roommates at the time he tested positive for COVID-
    19. These three roommates were allowed to roam the common areas freely and interact
    with other resident Veterans. Neither roommate was tested for COVID-19. According to
    Dr. Clinton and his understanding of a presentation regarding COVID-19, “if a patient has
    a roommate with COVID-19, one should automatically assume that patient also has
    COVID-19.” Report at 79.

66. Veteran 1 was never removed to an isolation room, nor was his room properly closed off to
    prevent the potential spread of COVID-19. The policy requiring his room door to remain
    closed was ignored for quicker access to Veteran 1 as he was a fall risk and required
    constant supervision. Report at 81.

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67. Laundry workers reported that he changed the curtains on 1-North on March 22, 2020, and
    then proceeded to visit each of the other units for laundry purposes during the following
    week. This laundry worker tested positive for COVID-19 and demonstrates the lack of
    protocol and precautions implemented by the leadership team of the soldiers’ Home to
    prevent the spread of COVID-19. Report at 81.

68. A nursing aid concerned with staff being directed to work between positive and negative
    units interchangeably questioned Ms. Lauziere only to receive a response that the “Home
    ‘had to work with the number of staff they had.”’ Report at 82.

69. The Report also indicates that the Soldiers’ Home previously moved Veterans to create
    negative-pressure isolation rooms and then later emptied a hospice unit for use as an
    isolation space. However, these designated rooms were never used because (1) Dr. Clinton
    opined Veteran 1 to have already contaminated the whole unit by being allowed to wander
    freely despite being detected of having COVID-19; and (2) the Home did not have enough
    staff to provide dedicated personnel to monitor veterans if they were moved to the isolation
    areas.

70. Furthermore, numerous Veterans were tested throughout March 17 and March 30 for
    demonstrated symptoms of COVID-19, and were permitted to remain in their units,
    creating an increase in plausibility for their asymptotic neighbors to contract COVID-19.
F. Discouragement of Use of Personal Protection Equipment
Vanessa Lauziere, Former Chief Nursing Officer.
71. Staff treating Veteran 1 in the days following his test attempted to have Veteran 1 wear a
    mask but were unsuccessful. The staff caring for Veteran 1 following the days of his test,
    were not equipped with personal protection equipment and only wore gloves. The staff
    were than floated from 1-North to other floors in the facility further spreading the disease
    elsewhere in the building. Report at 80.

72. On March 18, 2020, Ms. Gosselin observed Kevin Ablordeppey wearing personal
    protective equipment while performing direct care to a patient. At this time, Ms. Gosselin
    instructed Mr. Ablordeppey about maintaining social distance. Following this interaction,
    Mr. Ablordeppey then received a disciplinary letter signed by Ms. Lauziere stating the
    following:

            On this March 18, 2020, during your overnight shift in reaction to safety
            procedures of which you disregard, you put on a Personal Protection
            Equipment without permission or need. Your actions are disruptive,
            extremely inappropriate and have caused unnecessary resources to be
            deployed that may be needed in the future. Your behavior unnecessarily


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            disrupted and alarmed staff. We expect more from you as a seasoned
            employee of the Soldiers’ Home and perceived leader. . .
      Report at 86.
73. The disciplinary letter directed to Mr. Ablordeppey indicates that the supplies at the
    Soldiers’ Home was scarce or being reserved for a more severe situation. However, this is
    contradicted by the actions of Mr. Walsh just one day later on March 19, 2020 when he
    authorized the transfer of 60 N95 masks to the Soldiers’ Home located in Chelsea, which
    was immediately retrieved by a driver to pick them up in Holyoke. Report at 84.

74. Ms. Lauziere, rather than encouraging medical staff to take proper precautions including
    protective gear as advised by the CDC and Commonwealth to prevent the spread of
    COVID-19, chose to discipline staff and discourage them from taking such preventative
    measures. This act alone, illustrates that the leadership team, including the at the time Chief
    Nursing Officer herself, Ms. Lauziere, were acting with overt disregard to the reasonable
    standard of care to patients as they not only ignored, but discouraged, the Soldiers’ Home
    healthcare team from using protective gear and attempted to make access to it impossible
    by removing it from the floors and locking it away.


G. The Decision to Combine Two Locked Dementia Units Leads to Devastation
75. According to the Report, on March 27, 2020, was when the worst decision made during the
    Soldiers’ Home’s response to COVID-19 occurred. This was the decision made by the
    Chief Nursing Officer in support of Mr. Walsh, to combine the Home’s two locked
    dementia units despite several of the Veterans in each unit demonstrating or already having
    been diagnosed with COVID-19. Report at 10.

76. The decision to combine the two locked dementia units was not based on professional
    standards, standards of reasonable medical care, or to serve the best interest of the Veteran
    patients residing at the Soldiers’ Home. Rather it was a consciousness choice made by
    leadership roles due to a shortage of staff. According to the Chief Nursing Officer “it didn’t
    matter because the veterans were all exposed anyway and there was not enough staff to
    cover both units.” Report at 11.

77. Combining the two locked dementia units caused twenty-one (21) veterans residing in
    Unit-2 North to be consolidated into Unit-1 North, exceeding the patient capacity and
    creating risks of contamination of COVID-19 to Veterans that were asymptomatic or
    awaiting test results. The merging of the two units was described as staff as “total
    pandemonium,” “when all hell broke loose,” “and a nightmare.” One staff member stated
    that she “will never get the images out of my mind—what we did, what was done to those
    veterans,” and “thought my god, where is the respect and dignity for these men?” Report at
    11.


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78. The two dementia units combined created a scene of disarray as staff members compared
    the scene to those of concentration camps used in the Holocaust. One command-response
    leader indicated that the unit had veterans crammed on top of one another with many
    clearly dying. Report at 11.

79. During the investigation, many staff members indicated that they were unable to keep track
    of the Veterans as they were hoarded into common areas with their beds only inches apart.
    All of the Veterans combined into Unit 1-North suffered from dementia and often times
    would climb in and out of one another’s beds. Other staff members recall not being able to
    locate which Veterans were administered prescriptions, causing many to suffer and/or die
    without the support of medications and morphine. Report at 90 and 91.

80. The degrading and gross negligent behavior that the leadership team displayed regarding
    the care of the Veterans is highlighted throughout the process of combining the two
    dementia units. One social worker, Terri Gustafson who worked at the Soldiers’ Home for
    21 years reported that she saw Ms. Surreira point to a room and state: “All this room will
    be dead by tomorrow.” Other similar comments made by Ms. Lauziere were noted in the
    report including “something to the effect that this room will be dead by Sunday so we have
    more room here.” Report at 90 and 91.

81. The choice to consolidate both dementia Units was one that the Soldiers’ Home’s
    leadership team executed, despite being fully aware of the repercussions it would manifest,
    including the widespread of COVID-19 and the veteran lives it would take. This became
    evident throughout the investigation: “On March 27,2020, a storekeeper employee
    delivered 13 body bags to 1-North at around 2:45 pm., shortly before the consolidation of
    the two units began. On March 28, 2020 “a tractor trailer refrigeration unit (ordered earlier
    in the week) arrived outside the Soldiers’ Home to store the remains of veterans who
    passed away, as there was not enough space in the morgue” to store the bodies of Veterans
    who has succumbed to COVID-19. Report at 94.

82. This critical error was made and approved on behalf of numerous individuals composed of
    the Leadership team including Dr. Clinton, Vanessa Lauziere, Celeste Surreira, and
    Superintendent Walsh.

83. Mr. Walsh and Ms. Lauziere argue that because of the Soldiers’ Home’s shortage of staff,
    they had no choice but to combine the two units. However, within hours of arriving on
    March 30, 2020, the Commonwealth’s emergency response team was able to assess the
    patients and refer many in need of care to hospitals and other acute-care facilities. The
    Report notes that this same option was available to Mr. Walsh and his team, but was never
    elected. Report at 12.

84. Upon their arrival to the Soldiers’ Home, the recovery team assembled under Ms. Liptak
    noted that despite their collective 90-years of nursing, not one of them had ever witnessed a

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   scene as the one at the Soldiers’ Home. “We did not know what patients were in the Home
   or where they were.” In addition, it was noted that the team worked more than 15-hour
   days trying to “accurately count, asses, and cohort the patients as the existing records were
   “incomplete” and “disorganized” at best. Report at 111.

85. During the investigation, the 1-North unit was described as a ‘war zone,” an experience
    which unfortunately all the men residing there had already lived through, and yet had to
    endure once more due to the incompetency of the leadership team during this time.

   H. Failure of the Leadership Team to Act Amidst a Pandemic.

86. The individuals whom staff, healthcare professionals, and the Veterans themselves, were
    not only supposed to take instructions and orders from, but would look to for guidance in a
    scene of chaos and pandemic, also known as the Leadership team, were portraying the
    exact opposite behavior of what their role, professions, and healthcare standards required.

87. Secretary Urena and Superintendent Walsh were both aware of the consolidation of the two
    dementia units, despite each unit containing COVID-19 positive residents and many other
    suspected of having the disease. Neither individual objected or proposed an alternative
    solution to this decision.

88. On March 25, 2020, members of the leadership team including Mr. Walsh, Ms. Lauziere,
    Ms. Surreira, and Dr. Clinton attended a call with the Department of Heath epidemiologist
    Joyce Cohen and Melissa Cumming to discuss staffing issues and COVID-19 Protocols. At
    no time during this discussion, did either leadership member report inadequate staffing to
    use isolation areas. While it is noted that Mr. Walsh expressed concern about personal
    protective equipment and staffing, he did not indicate a need for assistance or “ring any
    alarm bells.” Report at 98.

89. At no time during the March 25, 2020 conversation with the Department of Health, did any
    individual of the leadership team relate their plan to combine the 1-North and 2-north
    housing dementia units due to inadequate staffing.

90. According to email conversations that later transpired on March 25, 2020, it was evident
    that Mr. Walsh was taking satisfaction in his ability to deceive the Department of Health
    and other officials in his ability to control the COVID-19 situation at the Soldiers’ Home.
    Report at 99.

91. On March 26, 2020, conversations took place via email among staff including leadership
    members Ms. Lauziere, Mr. Walsh, and Ms. Surreira. The conversation indicated that the
    only manner to which veterans could be isolated would be by confining them to their room
    with a mask on using a restraint. This method however, was noted to be “not in keeping
    with our practice or ethics,” by Ms. Lauziere. However, forcing double the capacity

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   allowed of veterans who suffered from dementia, the flu, and showed symptoms of
   COVID-19 into one unit appeared to be in accordance with their “practice and ethics.”
   Report at 99.

92. Issues concerning lack of communication from Mr. Walsh was expressed to Secretary
    Urena prior to COVID-19, see line 26, and would prove to be destructive to the Soldiers’
    Home response to COVID-19. Secretary Urena was unaware that “there was a sense that
    the place was being overrun” by COVID-19 until Mr. Walsh informed him that he had
    formally requested the National Guard assistance for staffing at the Soldiers’ Home.
    Report at 100.

93. Despite being informed of the gravity of the COVID-19 situation at the Soldiers’ Home,
    Secretary Urena failed to take initiative and implement steps to conform preventative
    measures and safety protocols were being enforced at the Soldiers’ Home.

94. Lack of action from leadership members at the Soldiers’ Home to rectify the COVID-19
    situation was not their only error that would impact how COVID-19 affected the Soldiers’
    home. The leadership team failed to accurately report and keep records of the veterans’
    healthcare and current COVID-19 statuses. It was not until March 29, 2020 that the
    Department of Veterans’ Services requested daily reporting of the number of pending
    COVID-19 cases and number of deaths associated with the disease. Report at 126.

95. The leadership team failed to act accordingly prior to, during, and in response to the
    COVID-19 pandemic and in doing so performed a disservice to the veterans who they had
    a duty to protect and provide reasonable care to while in their care and custody.

96. After completion of their thorough investigation, the Report states “the Department of
    Veterans Services failed in its responsibility to oversee the Soldiers’ Home.” Report at 16.

   I. On April 17, 2020, Stanley Chiz, a veteran resident among many, died of COVID-19
   related illness.

97. Stanley Chiz served in the Army as a decorated Corporal in the Korean War. He was
    honorably discharged in 1948.

98. Stanley Chiz was born and raised in Springfield, MA., and continued to be surrounded by
    his family consisting his wife Vicky Philips-Chiz, and three sons who all live local.

99. Stanley Chiz, was a veteran resident of the Soldiers’ Home since December 28, 2016. He
    was admitted for long-term care because of progressive dementia and ability to self-
    medicate and frailty.




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100. Prior to his retirement, Stanley Chiz successfully expanded and operated Standard
     Office Supply for over 25 years. It was a business his father-in-law had started and he
     proudly took over.

101. Due to Stanley Chiz’s living quarters, an apartment located on the second and third
     floors, he experienced difficulty using a cane and ambulatory. He fell in October of
     2015, breaking several ribs and pelvic bones, suffering from a subarachnoid
     hemorrhage.

102. Stanley Chiz contracted COVID-19 due to the defendants’ failure to isolate suspected
     COVID-19 patients, delay in treating veterans when they were showing symptoms,
     delay in closing common spaces, failure to stop rotation of staff among units, and
     inconsistent policies with respect to personal protective equipment. Report at 12-14.

103. On March 31, 2020, Stanley Chiz was swabbed for COVID-19 after displaying
     symptoms of the disease including becoming severely weak, not able to eat or drink, and
     development of a fever that was being monitored.

104. On April 2, 2020, the results for his COVID-19 test returned as positive and Stanley
     Chiz was diagnosed with COVID-19.

105. On April 13, 2020, Stanley Chiz was transferred by ambulance from the Soldiers’ Home
     to Baystate Medical Center located in Springfield, MA, where he was admitted for
     further treatment of COVID-19.

106. On April 17, 2020, Stanley Chiz died at Baystate Medical Center.

107. Stanley Chiz’s death certificate indicates that his cause of death was due to or a
     consequence of COVID-19.

                                        COUNT 1
                               FOURTEENTH AMENDMENT
                           TO THE UNITED STATES CONSTIUTION
                                     42 U.S.C. § 1983

108. The Plaintiff hereby restates and incorporates by reference paragraph numbers 1-105 of
   this Complaint.

109. The defendants’ actions and omissions thereof, were under the color of law.

110. The defendants violated the rights of Stanley Chiz, by failing to provide him with
     reasonable and minimal medical and health care. The lack of precautions taken rendered
     Stanley Chiz more vulnerable to harm, including contracting the COVID-19 virus.

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111. The defendants violated the rights of Stanley Chiz, by failing to take proper precautions
     and preventative measures to ensure the environment Stanley Chiz and other veteran
     residents resided in was safe and free from unreasonable harm. The COVID-19
     guidelines were established for a reason, and it was foreseeable that disregarding these
     guidelines would result in Stanley Chiz contracting COVID-19.

112. The defendants’ actions and behavior were a substantial breach of the standard of care
     required of medical treatment and nursing care to be provided within a long-term care
     facility.

113. The defendants’ acted with deliberate indifference and conscious disregard for veteran
     resident Stanley Chiz’s health, safety, and federal right while residing at the Soldiers’
     Home by violating the COVID-19 protocols, which resulted in Stanley Chiz contracting
     the virus.

114. The defendants undertook a relationship as caretaker of Stanley Chiz by taking
     responsibility for his care and well-being while a resident of the Soldiers’ Home.

115. The defendants’ actions and inactions made Stanley Chiz more vulnerable to contracting
     COVID-19, which ultimately caused his death.

116. The defendants’ actions and lack thereof constitute behavior that would shock the
     conscience.

117. The defendants’ violated the Due Process Clause of the Fourteenth Amendment which
     provides that no State “shall deprive any person of life, liberty, or property without due
     process of law.”

118. Pursuant to 42 U.S.C. § 1983, the Plaintiff requests recovery to the greatest extent
     available under the law for the Estate of Stanley Chiz.


  WHEREFORE, the Plaintiff, the Estate of Stanley Chiz, demands judgment against the
    Defendants in the amount of $2,500,000.00 or such amount that this Court shall deem
    just and proper together with interest and costs and respectfully requests that the Court
    grant any other relief to which the Plaintiff might be entitled.

          THE PLAINTIFF HEREBY DEMANDS A TRIAL BY JURY ON ALL
          ISSUES AND FACTS SO TRIABLE.




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                                Respectfully submitted,
                                THE PLAINITFF
                                By her Attorneys:


Dated: 12/22/2020               _____/s/ Christopher F. Cava_________________
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